                          CASE 0:25-cv-02794-KMM-DLM                                          Doc. 1-6            Filed 07/08/25                      Page 1 of 2
JS 44 (Rev. 12/12)                                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFF                                                                                       DEFENDANTS
          Damien Lashaun Nelson – Plaintiff Pro Se                                                     Burnsville Police Department, Detective Brad Litke, Officer Nickolas Larson,
                                                                                                       Officer Ray Gutzman, et al.


   (b) County of Residence of First Listed Plaintiff Washington                                        County of Residence of First Listed Defendant                 Dakota
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
          Damien Lashaun Nelson - MNDoc ID 243200
          MCF Stillwater                                                                               Vicki A. Hruby, #0391163
                                                                                                       JARDINE, LOGAN & O’BRIEN, PLLP
          970 Pickett St. N.                                                                           8519 Eagle Point Blvd., #100
          Bayport, MN 55003-1489                                                                       Lake Elmo, MN 55042
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                   (For Diversity Cases Only)                                           and One Box for Defendant)
  1    U.S. Government               3 Federal Question                                                                     PTF          DEF                                           PTF      DEF
         Plaintiff                       (U.S. Government Not a Party)                        Citizen of This State           1                1   Incorporated or Principal Place          4      4
                                                                                                                                                     of Business In This State
  2    U.S. Government               4 Diversity                                              Citizen of Another State             2           2   Incorporated and Principal Place        5       5
         Defendant                      (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                              Citizen or Subject of a              3           3   Foreign Nation                          6       6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                          TORTS                               FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY              625 Drug Related Seizure               422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                           310 Airplane                 365 Personal Injury -            of Property 21 USC 881             423 Withdrawal                    400 State Reapportionment
  130 Miller Act                       315 Airplane Product             Product Liability        690 Other                                  28 USC 157                    410 Antitrust
  140 Negotiable Instrument                 Liability               367 Health Care/                                                                                      430 Banks and Banking
  150 Recovery of Overpayment          320 Assault, Libel &             Pharmaceutical                                                  PROPERTY RIGHTS                   450 Commerce
      & Enforcement of Judgment             Slander                     Personal Injury                                                 820 Copyrights                    460 Deportation
  151 Medicare Act                     330 Federal Employers’           Product Liability                                               830 Patent                        470 Racketeer Influenced and
  152 Recovery of Defaulted                 Liability               368 Asbestos Personal                                               840 Trademark                         Corrupt Organizations
      Student Loans                    340 Marine                       Injury Product                                                                                    480 Consumer Credit
      (Excludes Veterans)              345 Marine Product               Liability                         LABOR                         SOCIAL SECURITY                   490 Cable/Sat TV
  153 Recovery of Overpayment               Liability              PERSONAL PROPERTY             710 Fair Labor Standards               861 HIA (1395ff)                  850 Securities/Commodities/
      of Veteran’s Benefits            350 Motor Vehicle            370 Other Fraud                   Act                               862 Black Lung (923)                  Exchange
  160 Stockholders’ Suits              355 Motor Vehicle            371 Truth in Lending         720 Labor/Management                   863 DIWC/DIWW (405(g))            890 Other Statutory Actions
  190 Other Contract                       Product Liability        380 Other Personal                Relations                         864 SSID Title XVI                891 Agricultural Acts
  195 Contract Product Liability       360 Other Personal               Property Damage          740 Railway Labor Act                  865 RSI (405(g))                  893 Environmental Matters
  196 Franchise                            Injury                   385 Property Damage          751 Family and Medical                                                   895 Freedom of Information
                                       362 Personal Injury -            Product Liability             Leave Act                                                               Act
                                           Medical Malpractice                                   790 Other Labor Litigation                                               896 Arbitration
      REAL PROPERTY                      CIVIL RIGHTS             PRISONER PETITIONS             791 Employee Retirement                FEDERAL TAX SUITS                 899 Administrative Procedure
  210 Land Condemnation                440 Other Civil Rights       Habeas Corpus:                   Income Security Act                870 Taxes (U.S. Plaintiff             Act/Review or Appeal of
  220 Foreclosure                      441 Voting                   463 Alien Detainee                                                       or Defendant)                    Agency Decision
  230 Rent Lease & Ejectment           442 Employment               510 Motions to Vacate                                               871 IRS—Third Party               950 Constitutionality of
  240 Torts to Land                    443 Housing/                     Sentence                                                             26 USC 7609                      State Statutes
  245 Tort Product Liability               Accommodations           530 General
  290 All Other Real Property          445 Amer. w/Disabilities     535 Death Penalty                IMMIGRATION
                                       - Employment                 Other:                       462 Naturalization Application
                                       446 Amer. w/Disabilities                                  -
                                                                    540 Mandamus & Other         465 Other Immigration
                                       - Other                      550 Civil Rights                 Actions
                                       448 Education                555 Prison Condition
                                                                    560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
      1 Original          2 Removed from               3 Remanded from                    4   Reinstated or              5 Transferred from             6 Multidistrict
        Proceeding          State Court                  Appellate Court                      Reopened                     Another District               Litigation
                                                                                                                            (specify)
                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF                         42 U.S.C. § 1983, 28 U.S.C. § 1331
ACTION                               Brief description of cause:
                                     Plaintiff alleges violation of his constitutional rights for seizure of his property without a warrant
VII. REQUESTED IN                         CHECK IF THIS IS A CLASS ACTION                        DEMAND $ 10.5 million                    CHECK YES only if demanded in complaint:
     COMPLAINT:                           UNDER RULE 23, F.R.Cv.P.                                                                        JURY DEMAND:           Yes        No

VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                                                      JUDGE                                                                 DOCKET NUMBER
DATE                                                              SIGNATURE OF ATTORNEY OF RECORD
7/8/2025                                                          s/ Vicki A. Hruby
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                APPLYING IFP                                      JUDGE                             MAG. JUDGE
                             CASE 0:25-cv-02794-KMM-DLM                       Doc. 1-6          Filed 07/08/25            Page 2 of 2
JS 44 Reverse (Rev. 12/12)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. (a)     Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
           then the official, giving both name and title.
     (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
           the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In
           land condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
     (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
           noting in this section "(see attachment)".

II.        Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
           United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
           cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
           this section for each principal party.

IV.        Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
           sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more
           than one nature of suit, select the most definitive.

V.         Origin. Place an "X" in one of the six boxes.
           Original Proceedings. (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           When the petition for removal is granted, check this box.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
           When this box is checked, do not check (5) above.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.       Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
           numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
